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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  FT. WORTH DIVISION

 ROBERT “BOB” ROSS                              §
 Plaintiff,                                     §
                                                §
                                                §
                                                §
                                                §
                                                §       Case No. 4:22-CV-00343
                                                §
 V.                                             §
                                                §
 ASSOCIATION OF PROFESSIONAL                    §
 FLIGHT ATTENDANTS,                             §
 MCGAUGHEY, REBER, AND                          §
 ASSOCIATES, INC., JULIE                        §
 HEDRICK, ERIK HARRIS                           §
 Defendants.                                    §


       MOTION FOR LEAVE TO FILE A LATE RESPONSE/AMENDED RESPONSE


   TO THE HONORABLE JUDGE OF SAID COURT:


          COMES NOW Plaintiff, Robert “Bob” Ross, and files this, Motion to File a Late

Response/Amended Response, and as grounds for support herein would show this Honorable Court

the following:

      1. Defendant filed their Motion to Dismiss on July 21, 2022, and Plaintiff filed their

         Response to Defendant’s Motion to Dismiss on August 11, 2022, attached hereto and

         marked as Exhibit A, however it as subsequently stricken by the court due to the fact that

         the exhibits were not compliant with the court’s rules.




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   2. An Amended Response and an Appendix of Exhibits, attached hereto and marked as

        Exhibit B, is submitted to comply with the court rules, however it was filed after the 21-

        day deadline to file a response.

   3. Plaintiff’s response failed to provide an appendix for their attached evidence and did not

        provide a copy of the electronic filing receipt with the judge’s copy, thus causing these

        items to be rejected by the honorable court.

   4. As these items do not substantively change the content of Plaintiff’s brief allowing the

        Plaintiff to file a late response in order to correct these deficiencies does not cause any

        harm to the Defendant.

   5.    In accordance with FRCP 6(b) the court has discretion to allow for more time:

             (b) EXTENDING TIME.
        (1) In General. When an act may or must be done within a specified time, the
        court may, for good cause, extend the time:
           (A) with or without motion or notice if the court acts, or if a request is made,
        before the original time or its extension expires; or
           (B) on motion made after the time has expired if the party failed to act because
        of excusable neglect.


     Wherefore, as the parties have acted with due diligence in attempting to comply with the

court rules, the Plaintiff respectfully requests that this honorable court act within its discretion

and allow Plaintiff the opportunity to file a late response/amendment to their response to

Defendant’s Motion to Dismiss.




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                                              Respectfully submitted,
                                              K.D. PHILLIPS LAW FIRM, PLLC


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                                                    ATTORNEYS FOR PLAINTIFF


                            CERTIFICATE OF CONFERENCE


        I DO HEREBY CERTIFY that before filing this Motion For Leave to File a Late/Amended
Response to Defendant’s Motion to Dismiss and its supporting brief, I emailed counselors for
Defendants, and asked them whether they would oppose the filing of this Motion For Leave to File
a Late/Amended Response to Defendant’s Motion to Dismiss and its supporting brief in an effort
to determine whether the parties could agree to the filing of this Motion. Defendants’ Counsel
affirmed they do not oppose the filing of this motion. Accordingly, Plaintiff is seeking a ruling
from the Court on this Motion.




                                            /s/ Heather Abreu______
                                             Heather Abreu, Esq.




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                                    CERTIFICATE OF
                                       SERVICE


        I certify that true and correct copy of this document was sent to all counsel of
record, hereunder listed via ECF Filing on this the 23rd Day of August 2022.


William Osborne
Margot Nikitas
Sanford Denison
Michael Rake

                                                            /s/
                                                           Heather Abreu




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